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                                   5                            IN THE UNITED STATES DISTRICT COURT
                                   6                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                   7
                                   8        EDWARD TAYLOR SITTLER, et al.,                Case No. 24-cv-00402-CRB
                                   9                      Plaintiffs,
                                                                                          ORDER ON CROSS-MOTIONS FOR
                                  10                v.                                    SUMMARY JUDGMENT
                                  11        CRESCENT COVE OPPORTUNITY
                                            LENDING, LLC, et al.,
Northern District of California




                                  12
 United States District Court




                                                          Defendants.
                                  13
                                  14           Plaintiffs Edward Taylor Sittler, Quatsch Investments, LLC (known just as
                                  15   Quatsch), and Quatsch Revocable Trust (known as Quatsch Trust) and Defendant Crescent
                                  16   Cove Opportunity Lending, LLC have filed cross-complaints seeking declaratory relief
                                  17   and damages arising out of an $8 million promissory loan that Quatsch received from
                                  18   Crescent Cove and allegedly did not repay. Now the parties have filed cross-motions for
                                  19   summary judgment. Having reviewed the parties’ briefs and heard argument, the Court
                                  20   GRANTS Crescent Cove’s motion with respect to its breach-of-contract claim, DENIES
                                  21   Crescent Cove’s motion with respect to its declaratory judgment claim, and DENIES
                                  22   Plaintiffs’ motion in full.
                                  23   I.      BACKGROUND
                                  24           A.        The Loan Agreement
                                  25           Plaintiff Sittler founded Color Health, Inc. in 2013. Sittler Decl. (dkt. 35-1) ¶ 3.
                                  26   Sittler eventually sought to liquidate his shares in Color Health and turned to Defendant
                                  27   Crescent Cove, an investment company, for funding. Id. ¶ 4. In January 2022 Sittler and
                                  28   Crescent Cove preliminarily agreed that Crescent Cove would provide Sittler with a two-
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                                   1   year $8 million loan in exchange for 192,771 shares of Color Health stock. Term Sheet
                                   2   (dkt. 35-2) ¶¶ 2–3, 5. They signed a nonbinding term sheet that expressed their intent to
                                   3   move forward with the loan. Id. at 1, 5.
                                   4          Sittler and Crescent Cove finalized the loan on April 4, 2022 by executing a
                                   5   promissory note. Promissory Note (dkt. 35-3). The promissory note named Quatsch—an
                                   6   entity formed for the purpose of holding Sittler’s shares in Color Health—as the borrower.
                                   7   Id. at 1. Several aspects of the promissory note are relevant here:
                                   8          First, the note set the price of Color Health stock at $83 per share, meaning the
                                   9   value of the shares that Quatsch used as collateral was $16 million, or twice the amount of
                                  10   the loan. Id. § 2(b). The note required Quatsch to update Crescent Cove each quarter with
                                  11   the fair market value of Color Health stock and to notify Crescent Cove within three days
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                                  12   of any transaction of Color Health stock priced below $83 per share. Id. § 14(g) (the
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                                  13   Affirmative Covenant Clause). And the note provided that Crescent Cove must not allow
                                  14   the value of its collateral “to be less than $16,000,000 at any time.” Id. § 15(j) (the
                                  15   Negative Covenant Clause).
                                  16          Second, the note defined certain occurrences as “events of default.” Id. § 2(d).
                                  17   Failure to provide the quarterly updates and failure to provide notice of sub-$83 stock
                                  18   transactions both would constitute events of default. Id. § 16(c)(i). So would failure to
                                  19   ensure that the value of the collateral remains over $16 million, though the note provides
                                  20   for a 15-day period in which Quatsch could cure a drop in value by acquiring and pledging
                                  21   additional Color Health stock (or cash assets).1 Id.§ 16(c)(ii) (the Event of Default
                                  22   Clause). Crescent Cove retained the right to accelerate the loan and declare that any
                                  23   interest be paid at an increased default rate following an event of default. Id. §§ 3, 16. In
                                  24   such case, Crescent Cove would also be entitled to reasonable costs, expenses, fees, and
                                  25   charges, including attorney fees and costs regarding enforcement of the note or events of
                                  26   default. Id. §§ 16(a), 25.
                                  27
                                       1
                                  28    Neither party suggests that Quatsch obtained or pledged cash assets to cure any drop in
                                       Color Health’s stock price.
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                                   1          Third, because Quatsch was unable to pledge all 192,771 shares on April 4 (the date
                                   2   the parties finalized the loan), Sittler and Quatsch Trust entered into a guaranty agreement
                                   3   until Quatsch could obtain the consents it needed to pledge all the necessary shares.
                                   4   Guaranty Agreement (dkt. 35-4). The guaranty would remain in effect until Quatsch
                                   5   pledged the 192,771 shares of Color Health stock as collateral, after which point Sittler and
                                   6   Quatsch Trust’s obligations as guarantors would be released. Id. § 5(b); Promissory Note
                                   7   § 14(h). Under the guaranty, Sittler and Quatsch Trust could be liable for up to
                                   8   $8.5 million, plus any increase in the value of Color Health stock over $83 per share and
                                   9   costs and legal fees. Guaranty Agreement § 1(a)–(b).
                                  10          B.     Post-Loan Events
                                  11          On four occasions in April, May, and June 2022, Color Health stock sold for
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                                  12   between $61 and $65 per share. Share Purchase Table (dkt. 28-1) at CH00192. Sittler
 United States District Court




                                  13   denies knowledge of these transactions and did not report them to Crescent Cove or pledge
                                  14   additional shares. Sittler Opp. Decl. (dkt. 34-1) ¶¶ 19–21.
                                  15          But in April 2023 Crescent Cove’s managing member, Jun Hong Heng, became
                                  16   aware that Color Health stock might be valued at less than $83 per share. Id. ¶¶ 10–11;
                                  17   Caraher Email (dkt. 34-5). Heng reached out to Sittler, provided him this information, and
                                  18   sought to amend the promissory note to adjust the stock value of Color Health to $50 per
                                  19   share and increase the number of shares pledged as collateral. Sittler Opp. Decl. ¶¶ 12–14;
                                  20   Caraher Email.
                                  21          The parties then spent several months discussing a potential amendment to the note.
                                  22   On May 5, 2023 Heng and Sittler spoke on the phone about amending the Color Health
                                  23   share price to $50 per share and increasing Quatsch’s pledge of Color Health shares to
                                  24   320,000 shares (which would still total $16 million in collateral). Heng Decl. (dkt. 41-1)
                                  25   ¶ 4. Sittler followed up four days later with the following email:
                                  26                 Per our conversation, we have jointly determined the current fair
                                                     market value of Color stock to be $50/share for the purposes of
                                  27                 the loan issued to me by Crescent Cove of 04/04/2022. It is
                                                     difficult to know the true price of Color common stock in this
                                  28                 environment since there is extremely limited liquidity and there
                                                                                     3
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                                                       are no regular transactions involving the equity. Given what we
                                   1                   currently know about market conditions and limited
                                                       conversations with potential buyers and sellers of the stock, we
                                   2                   believe that $50/share represents a reasonable estimate. We will
                                                       adjust the amount of collateral posted to support the loan to
                                   3                   320,000 shares to reflect this new fair market value. I will
                                                       contact Color to have the shares moved to Quatsch Investments,
                                   4                   LLC. … For future valuations, we should undertake the same
                                                       process. To my knowledge, this represents the last term between
                                   5                   us required to complete the agreement to collateralize this loan
                                                       on my Color stock.
                                   6
                                       May 9, 2023 Email (dkt. 35-7). The parties continued conversations about amending the
                                   7
                                       note through September 2023. See, e.g., June 27, 2023 Email (dkt. 35-8); June 29, 2023
                                   8
                                       Email (dkt. 35-10); July 25, 2023 Email (dkt. 35-11); Sept. 20, 2023 Email (dkt. 35-12).
                                   9
                                       But they never signed or executed a written agreement after Sittler’s May 9 email. Sittler
                                  10
                                       Decl. ¶ 25.
                                  11
                                              On October 13, 2023, Heng called Sittler to state that Quatsch needed to pledge
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                                       additional shares as collateral because Color Health’s stock price had dropped. Id. ¶ 16;
                                  13
                                       see also Compl. (dkt. 1) ¶ 14. On October 29, 2023, Quatsch purported to finalize its
                                  14
                                       pledge of 192,771 shares. See Pignato Email (dkt. 31-14). But Quatsch did not pledge
                                  15
                                       additional shares, so Crescent Cove noticed events of default on November 1 and
                                  16
                                       December 27, 2023, contending that Quatsch needed to pledge 320,000 shares under the
                                  17
                                       amended note. Sittler Opp. Decl. ¶ 17; Nov. 1 Letter (dkt. 34-15); Dec. 27 Letter (dkt. 34-
                                  18
                                       18). Then, in March 2024, Crescent Cove accelerated the loan and demanded immediate
                                  19
                                       payment of over $8.5 million. Notice of Acceleration (dkt. 34-7). The following month
                                  20
                                       Quatsch tendered 192,771 shares of Color Health stock to Crescent Cove. Apr. 5 Letter
                                  21
                                       (dkt. 34-19).
                                  22
                                              C.       Procedural History
                                  23
                                              Plaintiffs Sittler, Quatsch, and Quatsch Trust filed this action seeking declaratory
                                  24
                                       judgment (1) that the personal guaranty was released and (2) that the promissory note was
                                  25
                                       not amended between May and October 2023. Compl. ¶¶ 75, 80. Crescent Cove raised
                                  26
                                       four counterclaims: (1) a claim for breach of the promissory note; (2) a declaratory
                                  27
                                       judgment claim that the personal guaranty was not released; (3) a declaratory judgment
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                                   1   claim that the promissory note was amended in May 2023 and that an event of default
                                   2   occurred under the amended note; and (4) an unjust enrichment claim. Ans. (dkt. 14)
                                   3   Counterclaims ¶¶ 41, 46, 49, 52. Crescent Cove has since abandoned its unjust enrichment
                                   4   claim. Opp. to Pls.’ MSJ (dkt. 41) at 13 n.4.
                                   5          Both parties have now filed cross-motions for summary judgment. Crescent Cove
                                   6   moves for summary judgment on Plaintiffs’ claims and two of its counterclaims, asserting
                                   7   that its remaining counterclaim would thus be mooted. Def.’s MSJ (dkt. 27) at 2.
                                   8   Plaintiffs move for summary judgment on their claims and all of Crescent Cove’s
                                   9   counterclaims. Pls.’ MSJ (dkt. 35) at 24.
                                  10   II.    LEGAL STANDARD
                                  11          Summary judgment is proper when there is “no genuine dispute as to any material
                                       fact and the [moving party] is entitled to judgment as a matter of law.” Fed. R. Civ. P.
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                                  13   56(a). Material facts are those that may affect the outcome of the case. Anderson v.
                                  14   Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A dispute about a material fact is genuine
                                  15   if “the evidence is such that a reasonable jury could return a verdict for the nonmoving
                                  16   party.” Id. “Where the record taken as a whole could not lead a rational trier of fact to
                                  17   find for the nonmoving party, there is no ‘genuine issue for trial.’” Matsushita Elec. Indus.
                                  18   Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986) (citation omitted).
                                  19          The moving party bears the initial burden of identifying those portions of the
                                  20   pleadings, discovery, and affidavits that demonstrate the absence of a genuine issue of
                                  21   material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). Once it has done so, the
                                  22   nonmoving party must go beyond the pleadings to demonstrate the existence of a genuine
                                  23   dispute of material fact by “citing to particular parts of materials in the record.” Fed. R.
                                  24   Civ. P. 56(c). If the nonmoving party fails to do so, “the moving party is entitled to a
                                  25   judgment as a matter of law.” Celotex, 477 U.S. at 323.
                                  26   III.   DISCUSSION
                                  27          The Court begins by addressing the question of subject-matter jurisdiction. From
                                  28   there, the Court takes Crescent Cove’s motion in two parts—first as to its breach-of-
                                                                                       5
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                                   1   contract claim and then as to its request for a declaration that the personal guaranty was not
                                   2   released. The Court grants Crescent Cove’s motion as to the first part and denies it as to
                                   3   the second. Last, the Court turns to Plaintiffs’ motion, which it denies.
                                   4          A.     Subject-Matter Jurisdiction
                                   5          Though neither party has raised this as an issue, the Court must independently
                                   6   confirm that it has subject-matter jurisdiction before it can reach the merits of the parties’
                                   7   motions. Rains v. Criterion Sys., Inc., 80 F.3d 339, 342 (9th Cir. 1996). Plaintiffs assert
                                   8   diversity of citizenship as the basis for federal subject-matter jurisdiction. Compl. (dkt. 1)
                                   9   ¶ 27. Diversity jurisdiction is proper where the parties are citizens of different states, as
                                  10   here, and the matter in controversy exceeds $75,000. 28 U.S.C. § 1332(a). “The amount
                                  11   in controversy is evaluated only with reference to the complaint and does not take into
                                       account counterclaims.” Breckenridge Prop. Fund 2016, LLC v. Gonzalez, No. 17-cv-
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                                  13   3915-JCS, 2017 WL 3381155, at *3 (N.D. Cal. Aug. 7, 2017).
                                  14          In cases like this one, where the plaintiff seeks only declaratory relief, “the amount
                                  15   in controversy is measured by the value of the object of the litigation.” Hunt v. Wash.
                                  16   State Apple Advertising Comm’n, 432 U.S. 333, 347 (1977). “Although it can be difficult
                                  17   to place a dollar value on declaratory and injunctive relief, in order to properly invoke
                                  18   subject matter jurisdiction, Plaintiffs must do so.” Mahoney v. VideoClix Techs., Inc.,
                                  19   No. 08-cv-2581-FMC, 2008 WL 11338473, at *3 (C.D. Cal. July 28, 2008)
                                  20          In their complaint Plaintiffs seek (1) “a declaration that the conditions for the
                                  21   release of the Personal Guaranty have been satisfied and that the April 4, 2022 Personal
                                  22   Guaranty is released” and (2) “a declaration that the Note was not amended and that
                                  23   statements made by or on behalf of the Plaintiffs in the context of negotiations regarding
                                  24   prospective modifications to the Note do not constitute a ‘FMV’ event as that term is
                                  25   defined in the Note.” Compl. at 15. Plaintiffs do not neatly connect the dots to articulate
                                  26   the monetary value of these declarations in their complaint. That said, one issue that
                                  27   Plaintiffs raise appears to be whether Sittler remains personally liable for over $8 million.
                                  28   Id. ¶ 33. This meets the amount-in-controversy requirement of § 1332(a). See Bitter v.
                                                                                      6
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                                   1   Windsor Sec., LLC, No. 13-cv-5022-WHO, 2014 WL 1411219, at *7 (N.D. Cal. Apr. 11,
                                   2   2014) (“Where, for example, [one party] claims that it is entitled to a certain amount and
                                   3   the [other party] claims that it owes nothing at all, the amount in controversy is the amount
                                   4   the [latter party] contends it should not have to pay.”).
                                   5          Thus, the Court has subject-matter jurisdiction over this case and proceeds to
                                   6   evaluate the parties’ arguments on the merits.
                                   7          B.     Crescent Cove’s Motion for Summary Judgment
                                   8          Crescent Cove’s motion for summary judgment on the first count (for breach of
                                   9   contract) boils down to the following: First, the sub-$83 Color Health stock transactions in
                                  10   April, May, and June 2022 triggered reporting and pledging obligations for Quatsch.
                                  11   Second, Quatsch failed to meet those obligations once it knew or should have known of the
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                                  12   transactions. Third, this constituted an event of default. Fourth, Crescent Cove properly
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                                  13   accelerated the loan. Fifth, Quatsch’s failure to pay back its loan after the acceleration
                                  14   breached the promissory note. Def.’s MSJ at 8–9. Plaintiffs challenge Crescent Cove’s
                                  15   reasoning at every step. See Opp. to Def.’s MSJ (dkt. 34).
                                  16                 1.     Stock Transactions
                                  17          To start, Crescent Cove is correct that undisputed record evidence demonstrates that
                                  18   in April, May, and June 2022 there were four transactions of Color Health stock below $83
                                  19   per share. See Share Purchase Table at CH00192. Plaintiffs do not argue that this
                                  20   evidence actually means anything different. Rather, they challenge the admissibility of the
                                  21   evidence on three grounds: that it lacks authentication, that it is inadmissible hearsay, and
                                  22   that Crescent Cove cannot interpret the evidence on its own. Opp. to Def.’s MSJ at 9–12.
                                  23          Authentication and Hearsay. Plaintiffs’ first two arguments misunderstand the
                                  24   admissibility inquiry on a motion for summary judgment. The key question at the
                                  25   summary judgment stage is whether the contents of a document would be admissible at
                                  26   trial, not whether the document itself would be admissible. See Fed. R. Civ. P. 56(c)(2)
                                  27   (“A party may object that the material cited to support or dispute a fact cannot be presented
                                  28   in a form that would be admissible in evidence.” (emphasis added)); Fraser v. Goodale,
                                                                                      7
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                                   1   342 F.3d 1032, 1036–37 (9th Cir. 2003) (“At the summary judgment stage, we do not
                                   2   focus on the admissibility of the evidence’s form. We instead focus on the admissibility of
                                   3   its contents.”). Plaintiffs rely on Canada v. Blain’s Helicopters, Inc. for the proposition
                                   4   that documents must be authenticated before they can be used to support a motion for
                                   5   summary judgment. Opp. to Def.’s MSJ at 10 (citing 831 F.2d 920, 925 (9th Cir. 1987)).
                                   6   But this ignores that Rule 56 was amended in 2010 to permit parties to rely on any
                                   7   “documents” in their summary judgment briefs. Fed. R. Civ. P. 56(c)(1)(A); see also Lee
                                   8   v. Offshore Logistical & Transp., L.L.C., 859 F.3d 353, 355 (5th Cir. 2017); Wright &
                                   9   Miller, Federal Practice and Procedure, § 2722 & n.38.50 (4th ed.). Plaintiffs’ citations to
                                  10   unpublished decisions requiring an attorney who signs a declaration to have personal
                                  11   knowledge of documents attached to that declaration are equally unconvincing in light of
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                                  12   the 2010 amendments. See, e.g., Kama v. Wolf, No. 20-cv-10265-VAP, 2022 WL
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                                  13   18284879, at *3 (C.D. Cal. Dec. 5, 2022) (citing Orr v. Bank of Am., NT & SA, 285 F.3d
                                  14   764, 777–78 & n.24 (9th Cir. 2022) (citing the pre-2010 Rule 56 language)).
                                  15          Under the proper inquiry, Crescent Cove has adequately established that it would be
                                  16   able to present the evidence showing the 2022 Color Health stock transactions in
                                  17   admissible form at trial. Color Health is within subpoena distance from the Court, so
                                  18   Crescent Cove could subpoena a Color Health representative to either authenticate the
                                  19   record of the stock transactions or to testify as to the transactions themselves. See Wolfson
                                  20   Decl. (dkt. 44-1) ¶ 3. That is enough to show that the contents of Crescent Cove’s
                                  21   evidence would be admissible at trial.
                                  22          Interpretation. As its third and final point, Plaintiffs argue that Crescent Cove is
                                  23   unable to interpret the table of Color Health stock transactions because the table does not
                                  24   speak for itself. Opp. to Def.’s MSJ at 12–13. Plaintiffs assert that the table fails to
                                  25   establish that the transactions it purports to list qualify as “fair market value events”—that
                                  26   is, events that would trigger Quatsch’s obligations to report a drop in Color Health’s stock
                                  27   price and pledge additional shares. Id. Such transactions must either be (1) arms-length
                                  28   equity-financing transactions, (2) arms-length right-of-first-refusal transactions, or
                                                                                      8
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                                   1   (3) arms-length third-party sales. Promissory Note § 2(b). Plaintiffs contend that the table
                                   2   does not establish that Color Health is a party to any of the stock transactions, which they
                                   3   claim is required to make a transaction a fair market value event. Opp. to Def.’s MSJ at
                                   4   12–13.2
                                   5          This challenge does not hold water either. Though the table is unmarked, one sub-
                                   6   $83 transaction recorded in the table is consistent with other record evidence showing a
                                   7   sale from a third party to Color Health. See Share Purchase Table at CH00192; 409A
                                   8   Valuations (dkt. 27-2) at CH0058. That is sufficient to establish that at least one arms-
                                   9   length transaction of Color Health stock occurred below $83 per share with Color Health
                                  10   as a party. It also supports Crescent Cove’s characterization of the table as a list of Color
                                  11   Health stock transactions. Plaintiffs offer no competing interpretation, let alone one
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                                  12   backed up with evidence from the record.
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                                  13          The table—when reviewed in the context of the full summary judgment record—
                                  14   therefore permits only one conclusion: there were four Color Health stock transactions
                                  15   between April and June 2022 at a price of below $83 per share, at least one of which
                                  16   involved Color Health as a party. These events would trigger Quatsch’s reporting
                                  17   obligations and its obligations to pledge additional collateral.
                                  18                 2.     Knowledge
                                  19          Plaintiffs provide evidence that Sittler did not have actual knowledge of these Color
                                  20   Health stock transactions. See Sittler Opp. Decl. ¶¶ 19–21. But Crescent Cove does not
                                  21   rely on Sittler’s actual knowledge of the transactions in its motion. Rather, Crescent Cove
                                  22   points out that Quatsch had a contractual duty to provide to Crescent Cove written notice
                                  23   of Color Health’s updated stock price every quarter. Reply ISO Def.’s MSJ (dkt. 44) at 8–
                                  24
                                       2
                                  25     Though this point is not dispositive, Plaintiffs are incorrect that the promissory note
                                       defines fair market value only with respect to transactions involving Color Health.
                                  26   Reading the promissory note to require that Color Health be a party to the transaction
                                       would render two categories of fair market value events—right-of-first-refusal transactions
                                  27   and third-party sales—redundant. Promissory Note § 2(b); cf. Hartford Fire Ins. Co. v.
                                       Orient Overseas Containers Lines (UK) Ltd., 230 F.3d 549, 558 (2d Cir. 2000) (“an
                                  28   interpretation that gives a reasonable and effective meaning to all terms of a contract is
                                       preferable to one that leaves a portion of the writing useless or inexplicable”).
                                                                                       9
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                                   1   9; Promissory Note § 14(g). Crescent Cove also contends that Plaintiffs had constructive
                                   2   knowledge of the stock transactions at least as of April 2023, when Heng notified Sittler
                                   3   that the stock price of Color Health had dropped. See Def.’s MSJ at 10–11; Sittler Opp.
                                   4   Decl. ¶¶ 10–11; Caraher Email. Crescent Cove is correct on both fronts.
                                   5          For one, Quatsch had a contractual obligation not only to stay abreast of Color
                                   6   Health’s stock price but also to inform Crescent Cove of the price on a quarterly basis.
                                   7   Failure to comply with this obligation would itself constitute an event of default. See
                                   8   Promissory Note §§ 14(g), 16(c)(i). (Crescent Cove never noticed a default on this basis
                                   9   despite not receiving these quarterly updates, however.) For another, Heng’s April 2023
                                  10   email to Sittler regarding a pending stock transaction at a price lower than $83 put Sittler
                                  11   on constructive notice of a potential drop in the share price of Color Health stock.3 The
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                                  12   promissory note, when read as a whole, does not permit Sittler to stick his head in the sand
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                                  13   to such information and thereby defeat the contractual protections against a drop in price.
                                  14   See E. Ramapo Cent. Sch. Dist. v. N.Y. Sch. Ins. Reciprocal, 158 N.Y.S.3d 173, 177 (App.
                                  15   Div. 2021) (“Implicit in every contract is … a pledge that neither party to the contract shall
                                  16   do anything which will have the effect of destroying or injuring the right of the other party
                                  17   to receive the fruit of the contract.” (citations omitted)).4 Before and especially after
                                  18   learning of a potential drop in price, Sittler could have inquired as to Color Health stock
                                  19   transactions. See Woods v. Sahara Enters., Inc., 238 A.3d 879, 890 (Del. Ch. 2020)
                                  20   (recognizing that shareholders (such as Quatsch) in a privately held corporation (such as
                                  21   Color Health) can inspect the corporation’s books and records). He cannot use his failure
                                  22   to do so to excuse his noncompliance with his obligations under the promissory note.
                                  23          Sittler’s lack of actual knowledge that Color Health’s stock price had dropped
                                  24
                                  25
                                       3
                                         Plaintiffs object to Heng’s email as hearsay, but the email is not offered to show that
                                       Color Health’s stock price in fact dropped below $83 per share; Crescent Cove has offered
                                  26   other evidence to that end. Rather, Crescent Cove offers Heng’s email to show that Sittler
                                       knew about a potential drop in stock price and yet did nothing. This is a classic non-
                                  27   hearsay use of a statement. See United States v. Dupree, 706 F.3d 131, 136–38 (2d Cir.
                                       2013).
                                       4
                                  28     The parties chose New York law to govern contract interpretation. See Promissory Note
                                       § 19; Guaranty Agreement § 8(d).
                                                                                     10
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                                   1   below $83 per share thus did not absolve Quatsch of its contractual obligations to notify
                                   2   Crescent Cove of the drop in price and to cure the drop by pledging more collateral.
                                   3                 3.     Event of Default
                                   4          Plaintiffs next contend that neither their failure to notify Crescent Cove of a drop in
                                   5   Color Health’s stock price nor their failure to pledge additional shares constitutes an event
                                   6   of default. They argue that the promissory note only required them to acquire, not pledge,
                                   7   additional shares as collateral. In support, they cite the Negative Covenant Clause, which
                                   8   states that Quatsch shall not “[p]ermit the sum of … the aggregate Fair Market Value of
                                   9   the [original 192,771 shares] … as supplemented by any assets acquired and/or pledged in
                                  10   accordance with Section 16(c)(ii), to be less than $16,000,000 at any time.” Opp. to Def.’s
                                  11   MSJ at 19 (emphasis in original) (quoting Promissory Note § 15(j)). And they cite the
                                       Event of Default Clause, which states that “prior to the satisfaction of [Quatsch’s]
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                                  13   obligations” to actually pledge its shares, Quatsch needed only to “acquire additional
                                  14   shares of [Color Health’s] common stock and/or cash and/or Cash Equivalents” within 15
                                  15   days of a sub-$83 stock transaction to bring the total value of collateral to $16 million. Id.
                                  16   (quoting Promissory Note § 16(c)(ii)). As Plaintiffs read these provisions, because the
                                  17   sub-$83 Color Health stock transactions occurred before Quatsch pledged the original
                                  18   192,771 shares to Crescent Cove, Quatsch had only to acquire more shares to cure the drop
                                  19   in price.
                                  20          Yet Plaintiffs’ interpretation of these provisions is in tension with the rest of the
                                  21   promissory note. For example, the Event of Default Clause states (beyond the language
                                  22   that Plaintiffs rely on) that “following satisfaction of [Quatsch’s] obligations” to pledge its
                                  23   shares, Quatsch must within 15 days of a sub-$83 stock transaction “acquire and pledge to
                                  24   [Crescent Cove] additional shares of [Color Health’s] common stock and/or Cash
                                  25   Collateral” such that the original 192,771 shares plus additional shares (and cash or Cash
                                  26   Equivalents) would total $16 million in value. Promissory Note § 16(c)(ii) (emphasis
                                  27   added). Likewise, the full text of the Negative Covenant Clause states that Quatsch must
                                  28   not
                                                                                     11
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                                                      [p]ermit the sum of (x) prior to the satisfaction of [Quatsch’s]
                                   1                  obligations [to pledge the original 192,771 shares], (i) the
                                                      aggregate Fair Market Value of the [original 192,771 shares],
                                   2                  plus (ii) the aggregate amount of unrestricted cash and/or Cash
                                                      Equivalents of the Loan Parties, or (y) following satisfaction of
                                   3                  [Quatsch’s] obligations [to pledge the original 192,771 shares],
                                                      (i) the aggregate Fair Market Value of the [original 192,771
                                   4                  shares], plus (ii) Cash Collateral held in the Cash Collateral
                                                      Account, in each of the foregoing cases, as supplemented by any
                                   5                  assets acquired and/or pledged with Section 16(c)(ii), to be less
                                                      than $16,000,000 at any time.
                                   6
                                       Id. § 15(j).
                                   7
                                              Even if the language that Plaintiffs cite is ambiguous in isolation, the promissory
                                   8
                                       note as a whole is not. That matters. See Amrusi v. Nwaukoni, 65 N.Y.S.3d 62, 65 (App.
                                   9
                                       Div. 2017) (“To determine whether a writing is unambiguous, language should not be read
                                  10
                                       in isolation because the contract must be considered as a whole.” (citation omitted)),
                                  11
                                       abrogated on other grounds by Ajdler v. Province of Mendoza, 123 N.E.3d 233 (N.Y.
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                                       2019). Indeed, the only sensible reading of the entire note is that it obligated Quatsch to
                                  13
                                       pledge additional shares as necessary to bring the total collateral value to $16 million. Any
                                  14
                                       failure to mention a requirement to pledge additional shares is merely a commonsense way
                                  15
                                       to deal with the fact that Quatsch could not be expected to pledge additional shares while it
                                  16
                                       was still in the process of obtaining the consents necessary to pledge the original 192,771
                                  17
                                       shares. It does not, as Plaintiffs suggest, negate the plain intent of the note—that Quatsch
                                  18
                                       would ultimately pledge $16 million in collateral.
                                  19
                                              Accordingly, Quatsch’s failure to pledge additional shares to the 192,771 original
                                  20
                                       shares following sub-$83 Color Health stock transactions constitutes an event of default.
                                  21
                                                      4.     Acceleration
                                  22
                                              Plaintiffs do not contest that Crescent Cove issued two notices of default in
                                  23
                                       November and December 2023 and then a notice of acceleration in March 2024. See Opp.
                                  24
                                       to Def.’s MSJ at 21. Rather, Plaintiffs argue that Crescent Cove cannot rely on those
                                  25
                                       documents because they were based on an alleged amendment to the promissory note
                                  26
                                       rather than the sub-$83 Color Health stock transactions and Quatsch’s subsequent failure
                                  27
                                       to pledge additional shares. Id.
                                  28
                                                                                     12
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                                   1          Plaintiffs fail to cite any legal authority or contractual provisions that would have
                                   2   required Crescent Cove to identify the specific basis for a notice of default or a notice of
                                   3   acceleration. They cite Notarnicola v. Lafayette Farms, Inc., which held that when a party
                                   4   failed to exercise a contractual acceleration option, the loan did not mature at an earlier
                                   5   date. See 733 N.Y.S.2d 91, 92 (App. Div. 2001). Notarnicola did not address what occurs
                                   6   when, as here, a party does issue a notice of acceleration but (arguably) does so on the
                                   7   wrong grounds. Plaintiffs also cite the Event of Default Clause, which provides that,
                                   8   “[f]ollowing the occurrence of an Event of Default … [Crescent Cove] may at its option …
                                   9   accelerate and declare the Obligations immediately due and payable in full … .”
                                  10   Promissory Note § 16. But that provision does not require Crescent Cove to correctly
                                  11   justify a notice of acceleration or default, especially when there were events of default that
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                                  12   Crescent Cove could not have known about. See id. And in any case, Plaintiffs also
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                                  13   “waive[d] presentment and demand for payment … and notice of intent to accelerate the
                                  14   Maturity Date (and of such acceleration).” Id. § 11. Given this waiver, Plaintiffs cannot
                                  15   rely on Crescent Cove’s unawareness of the sub-$83 stock transactions (which,
                                  16   incidentally, was caused by Plaintiffs’ own failure to provide timely updates) to claim that
                                  17   Crescent Cove’s notices of default and notice of acceleration were deficient.
                                  18          The March 2024 notice of acceleration was therefore proper.
                                  19                 5.     Failure to Pay
                                  20          Plaintiffs lastly point out that Quatsch tendered to Crescent Cove 192,771 shares of
                                  21   Color Health stock, which could come out to over $8 million (the value of the loan) even
                                  22   with a value of under $83 per share. Plaintiffs characterize their argument as going to
                                  23   whether Crescent Cove suffered damages, not as to whether they did or did not breach the
                                  24   promissory note. Opp. to Def.’s MSJ at 22.
                                  25          To be sure, damages is an essential element of a breach-of-contract claim. See
                                  26   Costoso v. Bank of Am., N.A., 74 F. Supp. 3d 558, 569 (E.D.N.Y. 2015). But Plaintiffs
                                  27   incorrectly assume that they only owed $8 million under the note, even though the note
                                  28   provides for a heightened interest rate, costs, expenses, and fees, including attorney fees.
                                                                                     13
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                                   1   See Promissory Note §§ 16, 25. And importantly, Crescent Cove does not move for
                                   2   summary judgment as to the amount of damages—only as to whether a breach of the
                                   3   promissory note actually occurred. See Reply ISO Def.’s MSJ at 13. As litigation
                                   4   proceeds in this case, Plaintiffs can certainly still challenge whether Crescent Cove
                                   5   actually incurred damages (and if so, how much) in light of the shares they transferred.
                                   6          Crescent Cove has established that Quatsch breached the promissory note by not
                                   7   repaying the $8 million loan (plus other charges) after an event of default and notice of
                                   8   acceleration. The Court therefore grants summary judgment as to liability on Crescent
                                   9   Cove’s counterclaim for breach of contract.
                                  10          C.     Crescent Cove’s Motion for Summary Judgment on Personal Guaranty
                                  11          Crescent Cove next contends that Quatsch’s pledge of the original 192,771 shares
                                       was insufficient to release Sittler and Quatsch Trust as guarantors. Def.’s MSJ at 13. The
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                                  13   promissory note states that Sittler and Quatsch Trust’s obligations under the personal
                                  14   guaranty would be released if Quatsch satisfies certain “Pledged Collateral Conditions.”
                                  15   Promissory Note § 14(h); see also Guaranty Agreement § 5(b) (referring to “Pledged
                                  16   Collateral Conditions”). The note defines those conditions as follows:
                                  17                 No later than five (5) Business Days after obtaining the
                                                     [consents necessary to pledge 192,771 shares of Color Health
                                  18                 stock] (or such later date as Agent may agree in its sole
                                                     discretion), [Quatsch] shall (x) provide … a pledge or security
                                  19                 agreement and appropriate certificates and powers or financing
                                                     statements, pledging all of the Specified Interests and Borrower
                                  20                 Equity Interests, in form and substance reasonably satisfactory
                                                     to Agent, to Agent … , (y) execute, deliver and file or record all
                                  21                 further instruments and documents … , and will take all further
                                                     actions that Agent may reasonably request in order to perfect
                                  22                 and protect any pledge or security interest granted to Agent or
                                                     to enable Agent to exercise and enforce its rights and remedies
                                  23                 under any Loan Document, and (z) provide to Agent all other
                                                     documentation which, in its reasonable opinion, is appropriate
                                  24                 with respect to the execution and delivery of the applicable
                                                     documentation referred to above.
                                  25
                                       Id.
                                  26
                                              Thus, Quatsch had to pledge Crescent Cove only (1) the “Specified Interests” and
                                  27
                                       (2) the “Borrower Equity Interests.” The promissory note defines Specified Interests as
                                  28
                                                                                     14
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                                   1   “192,771 shares of common stock of [Color Health] and all substitutions therefor and
                                   2   replacements thereof, together with any securities entitlements related thereto.” Id. § 1.
                                   3   And it defines Borrower Equity Interests as “100% of the Equity Interests of [Quatsch].”
                                   4   Id. § 14(h). Putting this all together, it appears that Quatsch could satisfy the Pledged
                                   5   Collateral Conditions—and, as a result, release Sittler and Quatsch Trust from their
                                   6   obligations under the personal guaranty—by pledging only the original 192,771 shares.
                                   7   And Plaintiffs have provided evidence suggesting that Quatsch did just that. See Pignato
                                   8   Email. Therefore, summary judgment for Crescent Cove as to its claim for declaratory
                                   9   relief (or as to Plaintiffs’ opposing claim for declaratory relief) would be improper.
                                  10          At the hearing, Crescent Cove opposed this result, arguing that if an event of default
                                  11   occurred before Quatsch pledged the Specified Interests, then that would preclude a
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                                  12   discharge of the guaranty. This expands on an observation that Crescent Cove made in its
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                                  13   briefs. See Def.’s MSJ at 9 (“Crescent Cove would have been able to accelerate the
                                  14   repayment of the Note and call on the Personal Guaranty prior to the date of any purported
                                  15   release of the Personal Guaranty.” (emphasis added)). But Crescent Cove has identified no
                                  16   provision of the promissory note or guaranty that operates retroactively like that. To the
                                  17   contrary, the language of the guaranty suggests that Sittler and Quatsch Trust’s obligations
                                  18   kicked in only at the time the payment of the loan was due, “whether at stated maturity, by
                                  19   acceleration or otherwise,” and that until then their obligations could be released “[a]t such
                                  20   time as” Quatsch pledged the original 192,771 shares. Personal Guaranty §§ 1(a), 5(b).
                                  21          Accordingly, the Court DENIES Crescent Cove’s motion for summary judgment as
                                  22   to its declaratory judgment claim. Moving forward, Crescent Cove may continue to argue
                                  23   that the personal guaranty was not released for other reasons, such as that the promissory
                                  24   note was amended, that Quatsch failed to adequately pledge the Specified Interests, or that
                                  25   the equities warrant holding Sittler and Quatsch Trust to their obligations as guarantors.
                                  26          D.     Plaintiffs’ Motion for Summary Judgment
                                  27          Plaintiffs move for summary judgment on both of their declaratory judgment claims
                                  28   (regarding the alleged amendment of the promissory note and the release of the personal
                                                                                     15
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                                   1   guaranty) and on all of Crescent Cove’s claims. Crescent Cove’s only live claims are
                                   2   declaratory judgment claims on the same issues as Plaintiffs’ claims. In short, then,
                                   3   Plaintiffs’ motion raises two issues: (1) whether the promissory note was amended and
                                   4   (2) whether Sittler and Quatsch Trust were released from their obligations as guarantors.
                                   5                 1.     Amendment
                                   6          The promissory note provides that it “may be amended only by an instrument in
                                   7   writing intended for that purpose executed jointly by an authorized representative.”
                                   8   Promissory Note § 18. Plaintiffs contend that Sittler’s May 9 email to Heng laying out the
                                   9   terms of the amendment was not an instrument, not intended for the purpose of amending
                                  10   the note, and not executed jointly by the parties. Yet Plaintiffs have not established these
                                  11   points beyond a genuine dispute of material fact.
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                                  12          First, an email can be an instrument—especially where, as here, the original
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                                  13   contract expressly anticipates email communication. Rubinstein v. Clark & Green, Inc.,
                                  14   395 F. App’x 786, 788 (2d Cir. 2010) (citing Stevens v. Publicis, S.A., 854 N.Y.S.2d 690,
                                  15   692 (App. Div. 2008)); see also Promissory Note § 24 (expressly mentioning email as a
                                  16   means of communicating regarding the note). Plaintiffs argue that the May 9 email was
                                  17   only a draft of the amendment, so it is not itself an instrument. See Pls.’ MSJ at 13 (citing
                                  18   Rubinstein, 395 F. App’x at 788 (“While an exchange of emails may constitute a binding
                                  19   contract under New York law, that is not the case ‘where the parties contemplate further
                                  20   negotiations and the execution of a formal instrument.’” (citations omitted))). But unlike
                                  21   the email in the case Plaintiffs cite, the May 9 email itself does not “plainly establish the
                                  22   parties’ intent to execute a formal contract beyond their email exchange.” Rubenstein, 395
                                  23   F. App’x at 788. To the contrary, the email appears to definitively resolve all material
                                  24   terms and details. See May 9, 2023 Email (“Per our conversation, we have jointly
                                  25   determined the current fair market value of Color [Health] stock to be $50/share for the
                                  26   purposes of the loan issued to me by Crescent Cove on 04/04/2022. … We will adjust the
                                  27   amount of collateral posted to support the loan to 320,000 shares to reflect this new fair
                                  28   market value.” (emphasis added)). Thus, it is not appropriate to grant summary judgment
                                                                                     16
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                                   1   on the grounds that the May 9 email was not an instrument.
                                   2          Second, the May 9 email expressly and repeatedly refers to the promissory note,
                                   3   even stating that the parties would “adjust” the number of shares pledged. Id. So
                                   4   Plaintiffs’ argument that “the May 9 email makes no mention of the Note or an amendment
                                   5   to it at all” and thus evinces no intent to amend, see Pls.’ MSJ at 13, is baseless. As for
                                   6   external conversations between the parties, both before and after May 9, those cut both
                                   7   ways. Compare Reply ISO Pls.’ MSJ (dkt. 47) at 2 (citing text messages from May 8),
                                   8   with Opp. to Pls.’ MSJ at 15–16 (citing emails after the May 9 email). They certainly do
                                   9   not establish what the parties intended beyond a genuine dispute of material fact.
                                  10          Third, the promissory note required only that any amendment be jointly executed,
                                  11   not jointly signed or otherwise agreed to in writing. Promissory Note § 18. A contract
                                       becomes executed once it is brought “into its final, legally enforceable form.” Execute,
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                                  13   Black’s Law Dictionary (12th ed. 2024). And “written documents can be enforced even if
                                  14   they are not signed.” Flores v. Lower E. Side Serv. Ctr., Inc., 828 N.E.2d 593, 597 (N.Y.
                                  15   2005). The case law that Plaintiffs cite is not to the contrary; in each of those cases, and
                                  16   unlike here, the underlying contract required that any amendment be signed to be valid.5
                                  17   See Prime Income Asset Mgmt., Inc. v. Am. Real Estate Holdings L.P., 918 N.Y.S.2d 467,
                                  18   469 (App. Div. 2011); Deutsche Bank AG v. JPMorgan Chase Bank, No. 04 Civ.
                                  19   7192(SHS), 2007 WL 2823129, at *23–24 (S.D.N.Y. Sept. 27, 2007). Nor is the Court
                                  20   persuaded by Plaintiffs’ argument that Sittler sent the May 9 email in his individual
                                  21   capacity, rather than as an agent of Quatsch. See Pls.’ MSJ at 13–14. Various aspects of
                                  22   the email—such as its subject line (“Quatsch follow up”) and Sittler’s repeated use of “we”
                                  23   when referring to Quatsch’s contractual obligations—indicate that Sittler may have been
                                  24   speaking as an agent of Quatsch. May 9, 2023 Email. That is enough to create a genuine
                                  25
                                       5
                                  26     Plaintiffs suggest that the promissory note did require that any amendments be signed,
                                       see Reply ISO Pls.’ MSJ at 3, but this relies on a misleading alteration to the note’s
                                  27   language. The note stated that it, “the other Loan Documents and any amendments,
                                       waivers, consents or supplements hereto and thereto may be executed in counterparts,” but
                                  28   it only required a signature for the execution of the promissory note itself. Promissory
                                       Note § 17.
                                                                                     17
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                                   1   dispute of material fact as to whether Sittler sent the email as an agent of Quatsch. See
                                   2   Herbert Constr. Co. v. Cont’l Ins. Co., 931 F.2d 989, 994 (2d Cir. 1991) (“The existence of
                                   3   apparent authority is a question of fact.” (citation omitted)).
                                   4           Because there remain genuine questions of material fact as to whether the parties
                                   5   satisfied the contractual requirements for amending the promissory note, the Court denies
                                   6   Plaintiffs’ motion for summary judgment as to both parties’ declaratory judgment claims
                                   7   relating to amendment of the note.6
                                   8                 2.     Guaranty Agreement
                                   9           As discussed above, the promissory note as originally drafted appears to require
                                  10   only that Quatsch pledge 192,771 shares in order to release Sittler and Quatsch Trust from
                                  11   their obligations as guarantors. This was enough to defeat Crescent Cove’s motion for
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                                  12   summary judgment as to the guaranty agreement. But that does not mean that summary
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                                  13   judgment is warranted the other way. For instance, the still-unresolved question of
                                  14   amendment necessarily implicates how many shares Quatsch needed to pledge in order to
                                  15   release the guaranty. See May 9, 2023 Email (“We will adjust the amount of collateral
                                  16   posted to support the loan to 320,000 shares to reflect this new fair market value.”). Thus,
                                  17   the Court denies Plaintiffs’ motion for summary judgment as to both parties’ declaratory
                                  18   judgment claims relating to the guaranty agreement.
                                  19   IV.     CONCLUSION
                                  20           For the foregoing reasons, the Court GRANTS Crescent Cove’s motion with
                                  21   respect to liability on its breach of contract claim, DENIES Crescent Cove’s motion with
                                  22   respect to both parties’ declaratory judgment claims, and DENIES Plaintiffs’ motion in
                                  23   full.
                                  24
                                       6
                                  25     The parties also discuss a four-factor test as to whether parties to a contract intend to be
                                       bound in the absence of a formal written agreement. But they seem to agree that the
                                  26   promissory note’s requirements for amendment override this background rule. See Pls.’
                                       MSJ at 14 (“Even if the Court were to dispense with the Note’s express provisions …
                                  27   summary judgment is still warranted.” (emphasis added)); Opp. to Pls.’ MSJ at 18
                                       (“Because the May 9 Email satisfies the Note’s three-fold requirements to amend, no
                                  28   further inquiry is required.”). The Court agrees: a contract’s terms take precedence over
                                       background rules of contract. See New York v. New Jersey, 598 U.S. 218, 224 (2023).
                                                                                      18
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                                   1        IT IS SO ORDERED.
                                   2        Dated: June 10, 2025
                                                                                      CHARLES R. BREYER
                                   3                                                  United States District Judge
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